







TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN
















TEXAS COURT OF APPEALS, THIRD
DISTRICT, AT AUSTIN

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  NO.&nbsp; 03-12-00471-CV
  
 




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D. H. a/k/a D. T., Appellant

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v.

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Texas Department of Family and Protective Services,
Appellee

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  FROM THE 345th
  District Court OF Travis COUNTY,
  
  NO. D-1-FM-11-000099,
  The Honorable Scott H. Jenkins,
  JUDGE&nbsp;PRESIDING
  
 




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  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
  R D E R
  PER CURIAM
  Appellant D. H. a/k/a D. T. filed her notice of appeal on July 16, 2012.&nbsp; The&nbsp;appellate record was complete September 5, 2012, making appellant=s brief due September&nbsp;25,&nbsp;2012.&nbsp;
  To date, appellant=s
  brief has not been filed. 
  Recent amendments to the rules of judicial administration accelerate
  the final disposition of appeals from suits for termination of parental
  rights.&nbsp; See Tex. R. Jud. Admin. 6.2(a), available at http://www.supreme.courts.state.tx.us/MiscDocket/12/12903200.pdf
  (providing 180 days for court’s final disposition).&nbsp; The accelerated schedule requires greater
  compliance with briefing deadlines.&nbsp; Therefore we order counsel to file appellant=s brief no later than October 15, 2012.&nbsp; If the brief is not filed by that date,
  counsel may be required to show cause why he should not be held in contempt
  of court.
  It is ordered on September 28,
  2012.
  Before Chief
  Justice Jones, Justices Rose and Goodwin
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